Case 2:10-md-02179-CJB-DPC Document 12182-12 Filed 01/17/14 ,

DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAMS

Last/Name of Business First Middle
Claimant Name THONN CASEY
Claimant ID 100051739 Claim ID 19690
Claim Type Seafood Compensation Program .
Law Firm Andry Law Group/Andry Lerner, LLC
Catch Type Shrimp Operator Type Vessel Owner
Vessel Name Boss Hoss Hull ID LA762111E101

This Notice is an official communication from the Claims Administrator for the Deepwater Horizon Economic and
Property Damages Settlement Program (“Settlement Program”) and relates to the claim identified In Section 1. We
previously sent you an Eligibility Notice, you requested Reconsideration. We have reviewed your claim again and
find that it qualifies for payment under the terms of the Economic and Property Damages Settlement Agreement
@Settiement Agreement”). This Post-Reconsideration Eligibility Notice accounts for any additional documentation
that you submitted and the reasons for adjustments you asserted. If the Award calculation on this Post-
Reconsideration Eligibility Notice is the same as the Awad calculation on your original Eligibility Notice, it means
that any additional documentation you provided or the réasons for adjustments to the caiculation you asserted cid
not result in a change to your Compensation Award. The following provides a breakdown of the factors relevant to
your payment. See Explanation of Clairn Attachment for details on each item, unless another Attachment is noted.

1. | Compensation Amount: $25,798.50

2. | Additional Risk Transfer Premium Amount: $212,837.63

3. Plus Claimant Accounting Support: See Claimant Accounting Support Reimbursement $515.97
Attachment for additional details,

4. | Subtotal for this Claim: Sum of Rows 1 throught 3. , $239,152.10

Less Prior Seafood Spill-Related Payments: All of your eligible Seafood Compensation
Program claims must exceed this amount in order to receive payment, If you have multiple Seafood
Compensation Program claims eligible for compensation, these offsets will appear on each Eligibility

5. | Notice. However, we will apply these offsets for prior Seafood Spill-Related Payments only once against $72,500.00
. your Total Seafcod Compensation Program Award, If this amount is zero, you do not have any
offsets or any previous Seafood Compensation Program offsets already have been deducted from a
previous Seafood Compensation Program Payment.

6 Total Compensation Amount: The Subtotal for this claim minus the Total Prior Payments. This Is $166,652.10
. the total amourit you can receive for this claim. z .

7. | 40% of Prior Transition Offer, if Applicable: N/A

8 Award Amount: Higher of 40% Amount or Total Compensation Amount, subject to any applicable

tie $166,652.10

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Seafood Compensation Program Offers to Date: This is the value of all eligible Seafood
9. | Compensation Program offers that are not under Reconsideration or Appeal at the time of this Notice. $239,152.10
This value includes the Award arnount, of this claim.
PAY-5 v5 WWW, DEEPWATERHORIZONECO NOMICSETTLEMENT.COM ClaimantiD: 100051739

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Total Seafood Compensation Program Award Amount to Date: Seafood Compensation
Program Offers to date minus Prior Seafood Spill Related Payments and any 40% Amount awarded in
10 your first Notice. This is the total value, after offsets for Seafood Spill-Related Payments, of all Seafood $166,652.10
“| Compensation Pregram awards that are not under Reconsideration or Appeal at the time of this f
Notice. This Amount will change if you request reconsideration of a prior Seafood Compensation
Program offer or if BP appeals any of your prior Seafood Compensation Program Offers.

Because you previously signed a Full and Final Release, Settlement, and Covenant Not to Sue and have received a
payment from the Settlement Program, you do not need to submit another Release to receive a payment on the
claim that Is the subject of this Post ~- Reconsideration Eligibility Notice. To receive payment on this claim, fog in to
your DWH Portal and click the Accept Award Amount option, which will tell us that you have waived any Appeal
rights on this claim. If you do not use the DWH Portal, then call the Claimant Communications Center ai 1-800-353-
1262 to indicate that yqu want payment on this claim. We then will process your claim for payment, though we
cannot pay your claim until BP’s Appeal rights have expired or been waived as explained below, If you do not
accept or request Appeal within 30 days, we will send the payment to you automatically, unless BP appeals your
claim, To obtain more detailed information about the payment process and other steps, go to
www,.deepwaterhorizoneconomicsettlement.com. If you have any questions about your aptions or this
Notice, you may cali the Claimant Communication Center at 1-800-353-1262, send an email to
Questions@dhecc.com, or visit a Claimant Assistance Center.

Tf the Compensation Amount listed on Row 1 of Section IT of this Notice is greater than $25,000, BP has a right to
appeal it within certain timeframes that begin from the date of this Post - Reconsideration Eligibility Notice, which
means that you cannot receive payment until BP’s appeal right has expired or been waived. If the BP Appeal
deadline falls on a Saturday, Sunday or a holiday, the deadline is extended to the next business clay. Holidays are:
New Year's Day, Martin Luther King, Jr.’s Birthday, Washington’s Birthday, Memorial Day, Independence Day, Labor
Day, Columbus Day, Veteran’s Day, Thanksgiving Day, Christmas Day, and any other day designated by the Office
of the Claims Administrator. If the BP Appeal deadline falls on a saturday, Sunday or a holiday, the deadtine is
extended to the next business day. Holidays are: New Year's Day, Martin Luther King, ir.’s Birthday, Washington's
‘Birthday, Memorial Day, Independence Day, Labor Day, Columbus Day, Veteran's Day, Thanksgiving Day,
Christmas Day, and any other day designated by the Office of the Claims Administrator, BP’s Appeal timeframes
differ depending on the amount of the award as follows: (a) for awards of $25,000.01 to $250,000.00, BP has ten
days to appeal; (b) for awards of $250,000.01 to $500,000.00, BP has 15 days to appeal: and (c} for awards
greater than $500,000.00, BP has 20 days to appeal. If BP appeals your Compensation Amount, we will send you a
separate notification explaining BP’s appeal and the appeals process.

You have 180 days from the date we mail or wire your initial payment to file any additional claims you wish to
pursue pursuant to Section 4.4.8 of the Settlement Agreement. You will waive all rights to future claims if you do
not submit additional claims within this 180-day window. However, if you are filing a claim in the Seafood
Compensation Program, you must file all Seafood-related claims no later than January 22, 2013.

if you wish to Appeal your award, the deadline to submit a Request for Appeal is 30 days after the date of the
Post-Reconsideration Eligibility Notice. However, if you filed a Category II or Ill Seafood Crew claim, you do not
have the right to Appeal your award.

‘To appeal your claim, you must submit a Request for Appeal anc pay the filing fee on or before the deadline to
Appeal. You may submit your Request for Appeal online through the DWH Portal or corripleté and returm the
Request for Appeal Form attached to this notice. If you have access to the DWH Portal, submit your appeal
online, and use our secure payment system to pay any applicable filing fee. The Request for Appeal form sets out
detailed instructions regarding how to file an appeal, including the applicable filing fee.

After you have initiated the Appeal, the Appeals Coordinator will issue a Notice of Clairaant Appeal of Eligible Claim
to BP and mail or post a copy to your DWH Portal. The Notice of Claimant Appeal of Eligible Claim will contain a
schedule of deadlines for submitting appeal documents. Lf you do not submit a Request for Appeal Form and
pay for your Appeal on or before the deadline for doing so, you will waive your right to appeal and
you will not have the option to resubmit your claim to the Settlement Program.

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a NT.

if you accept your Award Amount and the claimant on whose behalf this claim was asserted is deceased, a minor
or incompetent, depending upon the law of the state where the claimant lived or lives now, you may be required to
get court approval of this accepted settlement and submit a copy of an official court document proving that the
person signing the Release has the authority to settle this claim on the clatmant’s behalf if you do not already have
such a document, even if we accepted whatever proof you have provided before now as sufficient to allow the

claim to move through the claim review process. We will notify you if you need to seek court approval or submit
additional proof of authority before payment.

We will deduct any valid outstanding liens we have received, along with any other deductions required by state or
federal law or by any court order from Your Award Amount identified in Section IT of this Notice before issuing
payment. If we have received a valid lien against your claim(s), the Notice of Lien Withholding Attachment
inctuded with this Notice provides details on that lien and how it affects your Award Amount. If we receive a valid

lien or notice of another required deduction after you accept your Award Amount but before we issue the payment
on your claim, we will deduct the lien amount fram your payment.

You are eligible to receive reimbursement for reasonable and necessary accounting fees related to claims
preparation. Reimbursement is jimited to the accounting services necessary to complete the Claim Form or prepare
supporting documentation. You will be reimbursed for accaunting fees based on the actual fees incurred.

For individual claims over $10,000, total accounting fees may not exceed 2% of the Compensation Amount
(excluding any applicable Risk Transfer Premium). Accounting fees for all other claims less than or equal to $10,000

are limited to $200. All individual claims, regardless of the Compensation Amount, shall be subject to an overall
accounting support reimbursement Itmit of $6,000.

MIET

if you have any questions about this Notice or the status of your claim(s) or need help, contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. If you are a law firm or
claims preparation company, call or email your designated DWH Contact for help or assistance. You also may visit

a Claimant Assistance Center and talk with one of our representatives. Fora complete list of Claimant Assistance
Centers, go to www. deepwaterhorizoneconomicsettiement.com.,

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Submit your arigina/ hard copy, signed Release bearing the claimant’s signature by Mail, Overnight Certified or
Registered Mail, or by visiting a Claimant Assistance Center. If you have already submitted a Release and you wish
to accept this Award Amount go to www.deepwaterhorizoneconomicsettiement.com and choose the Accept
Award Amount option. If you are unable to access the DWH Portal you must call the Claimant Communications
Center at 1-800-353-1262 to accept payment on this claim. If you choose to appeal, submit your appeal online by
using the DWH Portal. If you do not have access to the portal, submit the attached Request for Appeal Form tc
the address listed on the Request for Appeal Form along with any accompanying documentation. Please be sure to
write your Claimant ID on the top page of all the documents you submit.

Deepwater Horizon Economic Claims Center

By Mail PO Box 1439
(Postmarked no later than your Appeal ceadline} Hammond, LA 70404-1439

By Gvernight, Certified or Registered

Mail Deepwater Horizon Economic Claims Center
(if mail, postmarked na later than your Appeal Ciaims Administrator

deadline; If other overnight delivery, placed in the 42548 Happy Woods Road

custody of an overnight carrier by your Appeal Hammond, LA 70403

deadline}

By Facsimile
(Sent no later than 12:00 midnight local time on your | (888) 524-1583
Appeal déadiine}

By Email
{Sent no later than 12:00 midnight focal time on your | ClaimForms@deepwaterhorizoneconomicsettlement.com
Appeal deadline) .

Visit a Claimant Assistance Center You may take the required information or documents to a Claimant
(@elivered no later than your Appeal deadfine) Assistance Center.

| We received one or more additional Claim Forms from you that are not included or addressed in this Notice. This
chart summarizes the status of those claims as.of the date of this Notice. You will receive or have already received’
separate Notices foreach additional claim. You may monitor the status of your other claims by using the DWH
Portal. IF you do not use the DWH Portal, contact us by one of the methods listed in the How to Contact us with
Questions or For Help Section of this Notice to find out the current status of your other claims or use the “Check My
Status” feature located on the homepage of the official Settlement Program website at
www.deepwaterhorizoneconomicsettlement.com.

Claim Fype Claim ID Claim Status
1. | Seafood Compensation Program 19691 Claimant's Initial Proposal for Appeal
Received
2. |VoO Charter Payment 20741 Payment Received
3. | Subsistence 97550 Claim Form Submitted
PAY-5.v.5 WWW, DEEPWATERHORIZONECONOMICSETTLEMENT.COM ClalmantiD: 100051739

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Catch Type Shrimp Operator Type Vessel Owner
Vessel Name | Boss Hass Hull 1b LA762111EL01
Vessel Size 30.00 ft Vessel Type N/A

Home Port County St. Tammany Home Port State LA

We reviewed all the documents and information you submitted to determine the Compensation Plan Method that
maximizes your recovery, even if that plan differed from your selection on the Claim Form. Sections C, D and E
explain the calculations from the Expedited and Reduced Expedited Compensation Methods, New Entrant
Compensation Method and the Historical Revenue Compensation Method. Your compensation is based on the
historical Revenue Compensation Method,

Explanation of Calculation: This calculation is based on your vessel size, vessel type and operator type. Your
Minimum Qualifying Revenus derived from Shrimping for the selected Benchmark Period is $40,000.00. IF your
Shrimping Revenue for the Benchmark Period meets/exceeds your Minimum Qualifying Revenue, your
Expedited/Reduced Expedited Seafood Compensation Plan Claim Award is $135,281.00, which includes a Risk
Transfer Premium (RTP) of 8.25. ,

Shrimp Vessels with an Ineligible Home Port: If your documentation indicates that the home port for the
vessel identified above is not within an eligible area, you are not eligible to receive compensation under the
Expedited or Reduced Expedited Compensation Methods. Vessels are only eligible to receive compensation under
the Expedited or Reduced Expedited Compensation Methods if the governmental issued vessel registration from
2009 or 2010 indicates the home port was in Louisiana, Mississippi, Alabama, and the following Florida counties:
_| Escambia; Santa Rosa; Okaloosa; Walton; Homes; Washington; Bay; Jackson; Calhoun; Gulf; Liberty; Franklin :

| Gadsden; Leon; and Wakulla,

2007 Annual Revenue 2008 Annual Revenue . 2009 Annua! Revenue

$0.00 $0.00 $156,000.00

Source of Revenue Information: The information from financial documents, aside from Trip Sworn Written
L. Tickets, will be included Ina compensation calculation only if supported by a federal or state tax return for St
the corresponding year as the financial information, atement

Benchmark Period: Your Benchmark Period may differ from the period you selected on the Claim
2. | Form because we selected the Benchmark Period that maximizes your recovery based on the 2609
documentation provided.

Benchmark Revenue; Your Benchmark Revenue Is the highest average of the annual revenue for

3. | the claimed vessel or vessels from the Benchmark Period identified above, Your annual revenue is $156,000.00
catculated from the Source of Revenue Information identified above.

4. | Expedited Calculation: $135,281.00

5. | Reduced Expedited Calculation: $62,438.00

6, | Expedited or Reduced Expedited Compensation: This is the higher of Row 4 or Row 5.

An RTP of 8.25 is included $135,281.00

EXPLANATION OF CALCULATION: This calculation is based on your vessel size, vessel type, operator type and expenses Incurred

for purchase/repair of the vessel or equipment for the vessel in the Bvelve months prior to April 20, 2010, Based on the size of your vessel
30.00 ft, your qualifying expense amount fs .

PAY-5 v.5 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM ClaimantID: 100051739
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EXPENSES
Type of Expense Amount of Expense
1. Other $26,910.00
2. | Total Proven Expenses for Shrimp Harvesting Vessel: $26,910.00
New Entrant Compensation: This includes an RTP of 8.25. Not Eligible

TION
Explanation of Calculation: This calculation is based on
Benchmark Period in conjunction with your vessel size and vessel type.

2007 Annual Revenue 2008 Annual Revenue 20095 Annual Revenue

$0.00 $0.00 $156,000.00

Source of Revenue Information: The information from financtal documents, aside from Trip
1. | Tickets, will be included in a compensation catculation only if supported by a federa! or state tax return for

Sworn Written

the corresponding year as the financial information. Statement
Benchmark Period: This Benchmark Period may differ from the Perlod selected on the Claim Form,

2. | becalise we selected the Benchmark Period that maximizes your recovery based on the documentation ’ 2009
provided.
Benchmark Revenue: The Benchmark Revenue is the highest average of the annual revenue for

3. | shrimp harvested for the claimed vessel or vessels from the Benchmark Periad identified above. The annual $156,000,0G

revenue is calculated from the Source of Revenue Information identified above.

4. Additional Catch Adjusted Benchmark Revenue: Row 3 multiplied by the Additional Catch

Factor of 1.20, $187,200.00
5. Total Adjusted Benchmark Shrimp Revenue: Row 4 multiplied by 1.2, which is the $224,640.00
Adjustment for Changes in 2010-11 Prices, . '
6. | Benchmark Cost: Row 3 multiplied by the Shrimp Cast Percentage of 39%, $60,840.06
7. | Base Loss: Row 5 minus Row 6, multiplied by the Shrimp Loss Percentage Factor of 35%. $57,320,006
&. | Base Compensation: Row 7 multiplied by the Shrimp Vessel Owner/Vesse! Lessee Share of 45%. $25,798.50
9. | Risk Transfer Premium: Row 8 multiplied by an RTP of 8.25, $212,837.63
10. | Final Compensation: Row 8 plus Row 9. . $238,636.13

The Seafood Compensation Program contains $2.3 billion to distribute to eligible claimants, less all Seafood-Related
Payments issued to claimants during the GCCF Transition Period. In the event there are remaining funds in the
seafood Compensation Program after paying all eligible claimants, then we will distribute the remaining funds to all
claimants who received compensation from the Seafood Compensation Program. The Claims Administrator has
discretion on how any remaining funds will be distributed. The remaining balance may be distributed to you in
proportion to your gross compensation expressed as a share of the gross compensation paid by us to all claimants
under the Seafood Compensation Program. Gross compensation reflects the amount paid by us to you prior to
deductions for any Seafood Spill-Related Payments. Because you received an Eligibility Notice, you are entitled to a

share of this additional distribution of any remaining balance, even if you received a lump sum or fixed payment as
a Category IT or IT] crew member.

1 Seafood Compensation Plan Claim Award: This is the highest calculation from all

Compensation Plan Methods that you are eligible for under the Shrimp Compensation Plan, $238,636.13

2 Accounting Support Reimbursement: See Claimant Accounting Support Reimbursement

Attachment for additional detaiis, if applicable. $915.97
3. | Subtotal for this Claim: Sum of Rows i and 2. $239,152.10
PAY-5 v5 WWW. DEEPWATERHORIZGONECGONOMICSETTLEMENT.COM ClaimantID; 100051739

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Less Prior Seafood Spill-Related Payments: All of your eligible Seafood Compensation
Program claims must exceed this amount in order te receive payment. If you have multiple Seafood
Cormpensation Program claims eligible for compensation, these offsets will appear on each Eligibility
4, | Notice. However, we will apply these offsets for prior Seafood Spill-Related Payments only ence 472,500.00
against your Total Seafood Compensation Program Award. If this amount is zero, you do not have
any offsets or any previous Seafood Compensation Program offsets already have been deducted from

a previous Seafood Compensation Program Payment.

Prior BP Payments of $11,000.00

Prior GCCF Emergency Payments of $61,500.00

Prior GCCF Interim Payments of $0.00

Prior GCCF 60% Transition Payments of $0.06

Prior DWH Seafood Program Payments of $0.00

Total Claim Amount: Row 3 minus Row 4. This is the total value of this Seafood Compensation
5 Program Claim. $166,652.10

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Total Seafood Compensation Plan Claimant Award: This is the value of all Eligibility
6. Notices from the Seafood Compensation Program not under Reconsideration or Appeal at the time of $239,152.10

this Notice. This amount will change if you request reconsideration of a prior Seafood Cempensation ’ .
Program offer or if BP appeals any of your prior Seafood Compensation Program Offers.

Total Seafood Compensation Program Award Amount to Date! Row 6 minus
Row 4 minus any prior 40% Offer. This is the Cota! value of all Seafood Compensation Program offers
7. | not under Reconsideration or Appeal as of the date of this Notice. This amount may be reduced by $166,652.10
payments made to you for other Seafood Compensation Program offers that are not included in Row 4
above due to the timing of this Notice.

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You are eligible for reimbursement of reasonable and necessary accounting fees incurred for work performed on
either the compietion of a Claim Form or preparation of supporting documentation (Claimant Accounting
Support”). Reimbursements for Claimant Accounting Support are capped at the following standard hourly rates:

Preparation $85 $110
Supervision and Review $130 $160

For individual claimants, the total reimbursement may not exceed 2% of the total Economic Damage Compensaticn
Amount fexcluding any applicable Risk Transfer Premium) for individual Ciaims over $10,000.00, with all other
claims limited to $200.00. Review and supervision hours may not excead 25% of total time spent. All individual

claims, regardless of the final claim amount, are subject to an overall accounting support reimbursement limit of
$6,000.00,

We reviewed the Sworn Written Statement and other supporting materials that you submitted and determined that

you are eligible for reimbursement of accounting fees. The amount of your Claimant Accounting Support
relmbursement is set forth below.

COASTAL CLAIMS GROUP

Preparer 64.00 $85.00 $5,440.00
Supervisor 15.00 - $130.00 $1,950.00
Total $7,390.00

Total Reimbursement Amount: $515.97
{This amount may reflect the maximum reimbursement limits explained in this Notice)

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if Name of Business First
Name THONN CASEY
Claimant ID 109051739 Claim ID 19690
Claim Type Seafood Compensation Pregram
Law Firm Andry Law Group/Andry Lerner, LLC
Catch Type Shrimp Operator Type Vessel Owner
Vessel Name Bass Hoss Hull Ib LAZ6O2111E101

The Appeal Panel will review all claims and issues related to your claim. By requesting an Appeal, you are certifying
that you understand that if you appeal, your Settlement Payment could increase, decrease or stay the same. You
must select the basis of your Appeal by selecting one or more of the reasons below

C] The Settlement Program committed a calculation error.
Error in reviewing submitted documentation.
Error in the Risk Transfer Premium muttipfier.

ead

Error in Prior Payment Offset.

Explain (You may attach additional sheets if necessary):

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If you select "The Settlement Program committed a calculation error", "Error in reviewing submitted
documentation”, and/or "Error in the Risk Transfer Premium multiplier" as the basis of your Appeal, this amount
should be the combined Compensation Amount and Risk Transfer Premium that you are seeking on Appeal. Refer
to Appendix A of your Eligibility Notice for more details. Your filing fee is based on the Compensation Amount you
request. Your Initial Proposal Compensation Amount may not be larger than the Compensation Amount you enter
here.

Compensation Amount Requested

Select your home state. If you do not five in one of these five states, select the state where your injury occurred.
C] Alabama 0 Florida CO Louisiana I] Mississippi (3 Texas

If you choose to appeal, you must pay a filing fee. If you select “Error in the Risk Transfer Premium multiplier”
and/or “Error in Prior Payment Offset” as the only reason(s) for your Appeal, the filing fee is $100. If you select a
different reason or any additional reasons for your Appeal, you must either pay your appeal fee based on the
Compensation Amount you are seeking, or you must agree to a 5% reduction in your Compensation Amount if you
do not prevail! on your Appeal. The Settlement Agreement defines Compensation Amount as the “Amount awarded
to the claimant prior to the addition of any RTP.” To “prevail” on Appeal means that the Appeal Panel awarcs you a
Post- Appeal Compensation Amount this is higher than your original Compensation Amount. The chart below sets
out the filing fee for each level of Compensation Amount sought:

Compensation Amount Filing Fee
Up to $10,000 $100
$10,000.01 ta $25,000 = |$450
$25,000.01 to $50,000 $200
$50,000.01 to $100,000 $250
$100,006.01 to $250,000 #500
$250,000.01 to $500,000 $1,000
$500,000.01 or more $2,500

If you have access to the DWH Portal, submit your appeal online and use our secure paytnent system to pay the
filing fee. If you do not use the DWH Portal, you can pay the Appeal fee by personal check or money order. Checks
must be made out to Appeal Processing Account and must include your name, Claimant ID, and Claim ID. Cash
will not be accepted. Your payment must be postmarked no later than your Appea! deadline. You must
mail your check or money order to the Appeal Processing Account, PO Box 85006, Richmond, VA 23285- 5006.
Use the boxes below to Indicate the method by which you will pay your filing fee,

CT twill pay for my Appeal by paying a filing fee, as determined by the Compensation Amount I requested
in Section LI. This filing fee will only be refunded if I prevail in my Appeal.

CT i wil pay for my Appeal by agreeing to a 5% reduction in the Compensation Amount (before any
offsets) if I do not prevail. Note: If the Compensation Amount listed in Section 2, line 1 of your Post-

Reconsideration Eligibility Notice is $0 or less, do not select this option. You must pay for your Appeal by
paying a filing fee, as determined by the Compensation Amount you requested in Section ZI.

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If you are unable to access the DWH Portal, you may submit your Request for Appeal Form in any of the below
ways. Pay the applicable filing fee by submitting a check or money order with this form.

By Mail Appeal Processing Account
(Postmarked no later than your Reconsideration PO Box 85006

deadline} Richmond, VA 23285- 5006
By Overnight, Certified or

Registered Mail Appeal Processing Account

GF mail, postmarked no later than your PO Box 85006
Reconsideration deadline; if other overnight delivery, -

placed in the custody of an overnight carrier by your Richmond, VA 23285- 5006
Reconsideration Deadline)

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